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TAMMY FARIAS )
msz ) CWIL ACTIoN No.
v. }
)
Noa"rnsmn LocATloN ) § “’ 1 §W§my; 3 ’z ? m §
sER\/Icas, L.L.c. ) " s
Defendant. }
) TRIAL BY may DEMANDED
oRIGINAL CoMPLAINT

TO THE HONORABLE UNITED STATES DISTRICT .TUDGE:
Plainti:t`f 'l`amm.y Farias, complains ofNorthstar Location Services, L.L.C. Defendant, and

for eause of action Would respectfully show as follows;

PRELI.M]NARY STATEMENT

l. This is an action for damages brought by Piaintiff Tammy Fatias against Defendant
Northstar Location Services, L.L.C. for violations of the Telephone Consumer Protection
Act (TCPA), 47 U.S.C. § 227(b)(l)(A)(iii).

2. Defendant called Plaintift`s’ Cellular telephone number using an automated telephone
dialing system and should be fuliy aware that Defendant had no prior express or implied
consent to call the cellular telephone

3. Plaintiff contends that the Defendant has acted voluntarily, intentionally and under its
own free Wilf and knew or should have known that Defendant was engaged in acts that

constitute violations of several statues.

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J`URISDICTION AND VENUE
4. Jurisdiction of this Court arises under 47 U.S.C. §227(b)(3).
5. This Court has jurisdiction over Defendant pursuant to 28 U.S.C. §l391b because
Defendant engages in business Within this state, to Wit debt collection

6. Venue is proper pursuant to 28 U.S.C. §13911) and 47 U.S.C. §227(b)(3) .

 

7. Venue in the Northern District ofTeXas, Fort Worth Division is proper in that the
Plaintiff resides in State of Texas, Tarrant Conntyd City of Fort Worth, the Defendant

transacts business here, and the conduct complained of occurred here

PARTIES

8. The Plaintiff in this lawsuit is Tarnrny Farias, (Mrs. Farias) a natural person and a citizen
of Tarrant County, Texas`

9. Defendant in this lawsuit is Northstar Location Services, L.L.C. (hercin after “Northstar
Location”) a company With principal office at 4285 Genesee Street, Cheektowaga, NY
14225.

10. Northstar Location may be served With process by serving its registered agent for service

of process: C T Corporation Systern, 1999 Bryan St., STE 900, Dalias, TX 7520}..

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FAC’I`UAL ALLEGATIONS

ll. Nortlistar Location made at least eight {8) individual telephone calls to Mrs. Farias
cellular telephone from phone number (883) 820-0968 that she has been able to
document

n 12- MIS» §M§.Mdnannpnnra§nr§swl;sauaslmtnrll§ml?nbhnUntilhlsy~§nrnnnssinonnoi Texas and

requested all records submitted by Northstar Location. Upon information and beliel`,
Northstar Location assigned the telephone number {888) 820-0968 to a telephone system
manufactured by CASTEL.

13. Upon information and belief, Northstar Location uses the telephone number (888) 820~
0968.

14. Northstar Location called Mrs. Farias cellular telephone number on the following dates
and times;

Decernl)er 15, 2015 at 08115 ani, 7. Decernber 31, 20l5 at iii-49 a.ni,

December 16, 2015 at 08110 a.rn. 8. lanuary 06, 2016 at 06;32 p.m.

Deceml)er 18, 2015 at 08:09 a.rn.

Decernl)er 21, 2015 at 03:23 p.m.

Decernber 23, 2015 at 1239 p.rn.
Decernber 29, 2015 at 11:06 a.rn.

FJ"_U‘.-l>*.“*°l\’i“““‘

15. On several occasions Mrs. Farias answered the telephone calls and there was a noticeable
period ot` silence or dead air before a representative came on the line

l6. On at least one occasion, l\/lrs. Farias answered the incoming telephone call and stated,
c‘stop calling”, “stop calling this phone”, or “you have the wrong number”.

l7. Upon information and good faith belief, the telephone calls identified above were placed

to l\/Irs. Farias wireless phone number by an Autornatic Dialing Announcing Device

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(“ADAD”). The ADAD is registered to Northstar Location by the Public Utility
Cornmission of Texas with permit number 070104.

18. Upon information and good faith beliel`, the telephone calls identified above were placed
to Mrs. Farias wireless phone number using an automatic telephone dialing system

(ATDS) as defined by the Federal Comrnunications Cornmission (FCC).

 

19_ Upon information and belief7 l\/lrs. Farias received additional calls to her cellular phone
from Northstar Location that she was not able to document l\/lrs. Farias intends to obtain
the phone records ofNorthstar Location through the discovery process

20. Upon information and beliet`, Northstar Location placed the calls to Mrs. Farias wireless
telephone number voluntarily

21. Upon information and belief7 Northstar Location placed the calls to Mrs. Farias wireless
telephone number under its own free will

22. Upon information and belief, Northstar Location had knowledge that it was using an
automatic telephone dialing system to place each of the telephone calls identified above

23. Upon information and belief, Northstar Location intended to use an automatic telephone
dialing system to place each of the telephone calls

24. Upon information and beliet`, Northstar location maintains business records that show all
calls placed by Northstar Location to Mrs. l?arias cellular telephone number

251 Northstar Location called l\/lrs. Farias cellular phone for a non-emergency purpose

26. Mrs Farias has no prior or present established relationship with Northstar Location_

27. The acts alleged herein all took place in Tarrant County, Texas in that the

communications were received there

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28.

Northstar Location used an automatic telephone dialing system to dial Mrs. Farias’s
cellular telephone from phone numbers as defined by the Telephone Consumer Prote_ction
Act, 47 U.S.C. §227(a)(l).

COUNT I

VIOLATION OF THE TELEPHONE CONSUMER PRGTECTI{)N ACT

47 U.s.C. eaatmlil)lalnnnsnrnunaumnonrnstan Locnntunnnn§£tnnn,at,n.c mismanme

29.

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31.

32.

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Paragraphs l through 28 are re-alleged as though fully set forth herein

l\/lrs. Farias and Northstar Location do not have an established business relationship
within the meaning of 47 U.S.C. §227(a)(2)_

l\lorthstar Location called Mrs. Farias’s cellular telephone using an “automatic telephone
dialing system” within the meaning of 47 U.S.C. §227(a)(1).

47 U.S.C. §227(b)(])(A) which states in part;

(b) RESTRICTIONS ON TI-lE USE GF AUTOMATED TELEPHONE EQUIPMENT.-

(1) PRGHIBITIONS.-It shall be unlawjllfor any person within the United States,
or any person outside the United States if the recipient is within the United States~»»-

(A) to make any call (other than a call madefor emergency purposes or
mode with the prior express consent of the called parly) using any
automatic telephone dicting system or an artificial or prerccorded
voice-e~

_ ln each telephone communication referenced in illd, Northstar Location has

demonstrated willful or knowing non»compliance with 47 U.S.C. § 227 (b)(l)(A) by
using an automatic telephone dialng system or used a telephone dialing system that has
the Copocr'ly to automatically call l\/lrs. Farias’s cellular telephone number, which is
assigned to a cellular telephone service with noprl`or express consent and for no

emergency pMFpC-'S€.

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WHEREF()RE, Plaintit`f prays for relief and judgment, as follows:

a) Adjudging that Det`endant violated the Telephone Consumer Protection Act and/or
admission from the Det`endant(s) that they violated the Telephone Consurner

Protection Act;

 

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states in part: an action to recover for actual monetary loss form such a violation, or

to receive $500 in damages for each such violation, whichever is greater

c) Awarding PlaintiH` statutory damages pursuant to 47 U.S.C §227(b)(3)(C); which
states in part: It` the Court finds that the Det`endant willfully or knowingly violated
this subsection or the regulations prescribed under this subsection2 the Court may, in
its discretiond increase the amount ot` the award to an amount equal to not more than 3

(three) times the amount available under subparagraph (B) ot` this paragraph
d) Awarding such other and further relief as the Court may deem just and proper
DEMANI) FOR JURY TRIAL

Plaintiff is entitled to and hereby demands trial by jury.
I)ated; September 15, 20l6

Respectfully Submitted,

Tammy Farias@

1413 Clinton Ave.

FOIt Wol'th, TX 76164
(317) 658-5353
tammyfarias@yahoo.corn

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purpose of initiating the civil docket sheet (SE¢!?I:'\&§TRUC?VO;\LS` ONNEX'»" PAG!I OF THIS FORM.)

 

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Bricl` description ol` cause:

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